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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
-----------------------------------------------------x
NATHANIEL FELBER, et al.                              :
                                                      :       Civil Action No. 19-cv-1027 (ABJ)
                                    Plaintiffs,       :
                                                      :
                  -against-                           :
                                                      :
ISLAMIC REPUBLIC OF IRAN,                             :
                                                      :
                                    Defendant.        :
-----------------------------------------------------x

                           DECLARATION OF PATRICK L. CLAWSON

         I, Patrick L. Clawson, Ph.D., in Washington, D.C., this 13th day of July, 2020, declare

under the laws of perjury of the United States that the following is true and correct:

A.       Professional Background

         1.       I am an expert on the Islamic Republic of Iran (“Iran”) and have extensively studied

and researched Iran and its sponsorship of terrorism, its economy, and its politics.

         2.       I am the Director of Research at the Washington Institute for Near East Policy (the

“Washington Institute”), where I have been employed since 1997. My previous positions include

five years as senior research professor at the Institute for National Strategic Studies of the National

Defense University and senior economist for four years each at the Foreign Policy Research

Institute, the World Bank, and the International Monetary Fund. I have spent most of my

professional life studying the Middle East in general, and Iran in particular. My first scholarly

article on the Middle East was published approximately thirty-five years ago, and my first work

on the region for the Central Intelligence Agency was prepared approximately twenty-five years

ago.




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       3.      The Washington Institute is a think tank and a 501(c)(3) organization that receives

funding from a variety of individuals, all of whom are American, to conduct studies about U.S.

foreign policy interests and concerns in the Middle East. As part of that work, the Washington

Institute studies domestic and international issues relating to the Iranian government. My work

includes extensive research regarding Iran’s Islamic Revolutionary Guard Corps (“IRGC”) and its

Qods Force Division (“IRGC-QF”) and the Iranian financial and banking system.

       4.      As Director of Research at the Washington Institute, my duties include, among

others, supervising a staff of about twenty senior researchers who study Middle East politics and

terrorism, with considerable focus on Iran. Many of these researchers are well known for their

expertise in the Middle East. For example, I have worked with Dennis Ross, President Clinton’s

Middle East Envoy and chief peace negotiator from 1993-2000 and President Obama’s Special

Assistant to the President and Senior Director of the Central Region (covering the Middle East) at

the National Security Council from 2009-2013. I have also worked with former Deputy Assistant

Secretary of the Treasury for Intelligence Dr. Matthew Levitt, responsible, inter alia, for

researching and monitoring Iranian terror financing; and Ambassador James Jeffrey, who is now

the U.S. Special Envoy for the Global Coalition to Defeat ISIL, and prior to his time at the

Washington Institute, Ambassador to Iraq and then to Turkey. Under my supervision, the

Washington Institute’s researchers have written more than twenty studies about Iran’s security

apparatus, support for terrorism and terror financing, political leadership, and U.S. and Western

policies to counter Iranian terrorism and terror financing. I also regularly brief and receive

briefings from senior United States military officials and senior officials of other governments

friendly to the United States, about the threats from Iran, Iranian support of terrorism, and Iranian

strategy regarding terrorism.




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       5.      Over the last thirty-one years, I have done contract consulting work on Iran for

several U.S. government agencies, including the Central Intelligence Agency, the Defense

Department, the State Department Bureau of Intelligence and Research, and through various

contractors, the National Security Agency and the Defense Intelligence Agency. While at the

National Defense University, I worked closely with officials from a wide range of U.S. government

agencies on the issue of Iran and Iranian support for terrorism, including close work with the

Central Command (the U.S. military command responsible for the Middle East) and its subordinate

commands, and with the staff of the Joint Chiefs of Staff.

       6.      I have previously been designated and qualified by federal courts as an expert

witness on issues relating to Iran, Iran’s support for terrorism, its economy, and other issues, and

have given both live and written testimony in various cases brought against Iran for its sponsorship

of terrorism, including Cicippio v. Islamic Republic of Iran, 18 F. Supp. 2d 62, 68 (D.D.C. 1998);

Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 8-9 (D.D.C. 1998); Cronin v. Islamic Republic

of Iran, 238 F. Supp. 2d 222, 228 (D.D.C. 2002); Higgins v. Islamic Republic of Iran, No. 99-cv-

00377 (CKK), 2000 WL 33674311, at *5 (D.D.C. Sept. 21, 2000); Stethem v. Islamic Republic of

Iran, No. 00-cv-00159 (D.D.C. 2000); Hegna v. Islamic Republic of Iran, No. 00-cv-00716

(D.D.C. 2000); Anderson v. Islamic Republic of Iran, 90 F. Supp. 2d 107, 112-13 (D.D.C. 2000);

Eisenfeld v. Islamic Republic of Iran, 172 F. Supp. 2d 1, 5 (D.D.C. 2000); Elahi v. Islamic Republic

of Iran, 124 F. Supp. 2d 97, 100 (D.D.C. 2000); Wagner v. Islamic Republic of Iran, 172 F. Supp.

2d 128, 132 (D.D.C. 2001); Polhill v. Islamic Republic of Iran, No. 00-cv-1798 (TPJ), 2001 WL

34157508, at *4 (D.D.C. Aug. 23, 2001); Mousa v. Islamic Republic of Iran, 238 F. Supp. 2d 1, 3-

4 (D.D.C. 2001); Raffi v. Islamic Republic of Iran, No. 01-cv-850 (D.D.C. 2001); Kerr v. Islamic

Republic of Iran, No. 01-cv-01994 (D.D.C. 2001); Surette v. Islamic Republic of Iran, 231 F. Supp.




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2d 260, 262 (D.D.C. 2002); Weinstein v. Islamic Republic of Iran, 184 F. Supp. 2d 13, 19 (D.D.C.

2002); Ungar v. Islamic Republic of Iran, 211 F. Supp. 2d 91, 93 (D.D.C. 2002); Stern v. Islamic

Republic of Iran, 271 F. Supp. 2d 286, 288 (D.D.C. 2003); Regier v. Islamic Republic of Iran, 281

F. Supp. 2d 87, 90 (D.D.C. 2003); Campuzano v. Islamic Republic of Iran, 281 F. Supp. 2d 258,

262 (D.D.C. 2003); Greenbaum v. Islamic Republic of Iran, 451 F. Supp. 2d 90, 96 (D.D.C. 2006);

Levin v. Islamic Republic of Iran, 529 F. Supp. 2d 1, 7 (D.D.C. 2007); Owens v. Republic of Sudan

and Islamic Republic of Iran, 2011 U.S. Dist. LEXIS 135961 (D.D.C. Nov. 28, 2011); Lelchook

v. Islamic Republic of Iran, No. 15-cv-13715 (D. Mass. 2015); Force v. Islamic Republic of Iran,

No. 16-cv-01468 (D.D.C. 2016); Braun v. Islamic Republic of Iran, 228 F. Supp. 3d 64, 70 (D.D.C.

2017); Gill v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 93 (D.D.C. 2017); Parhamovich v.

Syrian Arab Republic and Islamic Republic of Iran, 17-cv-00061 (D.D.C. 2017); Allen v. Islamic

Republic of Iran, No. 17-cv-00338 (D.D.C. 2017); Schertzman Cohen v. Islamic Republic of Iran,

No. 17-cv-1214 (JEB), 2019 WL 3037868, at *3-4 (D.D.C. July 11, 2019); and Weinstock v.

Islamic Republic of Iran, No. 17-cv-23272, 2019 WL 1507255, at *2 (S.D. Fla. Apr. 5, 2019)

among others.

       7.       I have also testified before the House International Relations, National Security,

and Banking and Financial Services Committees and the Senate Foreign Relations and Banking

Committees about Iran, Iranian terrorism, and the use of economic measures to discourage Iran

from supporting terrorism.

       8.       I have made presentations about the foreign and economic policy of Iran, including

its support for terrorism, and about U.S. policy toward Iran at conferences sponsored by, among

other organizations, the Iranian Foreign Ministry’s Institute for Political and International Studies

in Tehran, Iran; the Royal Institute for International Affairs in London, England; the Royal United




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Services Institute in London, England; the Japanese Foreign Ministry in Tokyo, Japan; the Institute

for Defense Studies and Analysis in New Delhi, India; the Shanghai Institute for International

Studies in Shanghai, China; the Jaffee Center at Tel Aviv University in Tel Aviv, Israel; the

Council for Foreign Relations in New York City, New York; the Nixon Center (part of the Nixon

Presidential Library); the Carnegie Endowment for International Peace in Washington, D.C.; and

a great many universities. I have also given presentations concerning Iran at more than 200

symposiums in more than twenty countries.

       9.     My books and monographs include: Tactical Issues Surrounding a U.S. Withdrawal

from the Iran Nuclear Agreement (The Washington Institute, 2018); Reinforcing the Role of

Sanctions in Restraining Iran (The Washington Institute, 2017, with Katherine Bauer and Matthew

Levitt); Syrian Kurds as a U.S. Ally: Cooperation and Complications (The Washington Institute,

2016, with six institute fellows); Energizing Policy: America and the Middle East in an Era of

Plentiful Oil (The Washington Institute, 2016, with Simon Henderson); How Iranians Might React

to a Nuclear Deal (The Washington Institute, 2014, with Mehdi Khalaji); Preventing an Iranian

Nuclear Breakout: U.S.-Israel Coordination (The Washington Institute, 2012, with David

Makovsky); An Iranian Nuclear Outbreak is Not Inevitable (The Washington Institute, 2011); The

Red Line: How to Assess Progress in U.S. Iran Policy (The Washington Institute, 2010); The

Perfect Handshake with Iran: Prudent Military Strategy and Pragmatic Engagement Policy (The

Washington Institute, 2010); Much Traction from Measured Steps: The Iranian Opposition, the

Nuclear Issue, and the West (The Washington Institute, 2010); Engaging Iran: Lessons from the

Past (The Washington Institute, 2009, edited); The Last Resort: Consequences of Preventive

Military Action Against Iran (The Washington Institute, 2008, with Michael Eisenstadt); Eternal

Iran: Continuity and Chaos (Palgrave Press, 2005, with Michael Rubin); Getting Ready for a




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Nuclear-Ready Iran (U.S. Army War College, 2005, with Henry Sokolski, edited); Checking

Iran’s Nuclear Ambitions (U.S. Army War College, 2004, with Henry Sokolski, edited); Iran

Under Khatami: A Political, Economic, and Military Assessment (The Washington Institute, 1998,

with others); Strategic Assessment (the flagship annual report of the Institute for National Strategic

Studies of the National Defense University, which I inaugurated and edited for three years, 1995-

1997); U.S. Sanctions on Iran (Emirates Centre for Strategic Studies and Research, 1997);

Business as Usual? Western Policy Options Towards Iran (American Jewish Committee, 1995);

Energy Security in the Twenty-First Century (National Defense University Press, 1995, edited);

Iran’s Strategic Intentions and Capabilities (National Defense University Press, 1994, edited); and

Iran’s Challenge to the West: How, When, and Why (The Washington Institute, 1993). The book

I co-authored with Rudi Matthee and Willem Floor, The Monetary History of Iran: From the

Safavids to the Qajars (I.B. Tauris, 2013), was awarded the Houshang Pourshariati Iranian Studies

Book Award for the best book about Iran in 2014 from the Middle East Studies Association, the

organization of U.S. scholars studying the Middle East.

       10.     In addition, I have written about the contemporary Middle East, including about

Iran, for a variety of news publications, including The New Republic, The New York Times, The

Wall Street Journal, and The Washington Post. I have also authored more than forty scholarly

articles for academic publications, such as Foreign Affairs, Survival, The Washington Quarterly,

the International Journal of Middle East Studies, the Middle East Journal, Les Cahiers de l’Orient,

and the Oxford Bulletin of Economics and Statistics.

       11.     From 1995 to 2012, I was senior editor of Middle East Quarterly, a journal of

Middle Eastern affairs, which regularly publishes on Iranian politics and Iran’s foreign policy.

From 1990 through 1994, I was editor of Orbis, a foreign policy journal.




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       12.     I hold a Ph.D. in economics from the New School for Social Research and a B.A.

from Oberlin College.

       13.     I am able to read and/or speak Persian and French as well as some Hebrew, Spanish,

and German. I read the Iranian press regularly through the internet. I also read other publications

from Iran, including books in Persian.

B.     Nature of This Declaration

       14.     I have been asked by Plaintiffs’ counsel in the case of Nathaniel Felber, et al. v.

Islamic Republic of Iran to provide my professional opinion as to whether Iran provided material

support to Hamas before and at the time of the December 13, 2018 terrorist attack in this case.

       15.     I have reviewed the Complaint filed by Plaintiffs.

       16.     My knowledge of Iran’s sponsorship of terrorism comes as a result of my routine

and in-depth access to facts concerning Iran, its support of terrorism, its economy and politics, and

my extensive study of Iran as outlined herein, including my professional research and publications

in this field over the course of many years. Indeed, as part of my work, I spend at least one hour a

day reviewing writings, including online sources, relating to Iran and other nations that sponsor

terrorism. Iran is a relatively open information country in which the competing political forces

frequently reveal information about the country’s security apparatus and debate issues relating to

terrorism. Iran even has many internet sites that publish information on these subjects. From my

years studying Iranian politics, and given the competing sources that can be compared, I believe

that I am able to determine whether Iranian reports on these subjects are credible. Indeed, I use

this information as a source to brief the United States and other governments. Furthermore, Iran

and some of the terrorist groups it sponsors have openly boasted about their relations, and have

described and detailed their connections in print.




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       17.      My opinions set forth below are based upon my education, research, and experience

as well as my review and analysis of documents and sources typically relied upon by experts in

my field. Such documents and sources include, but are not limited to: official speeches made by

Iranian officials, U.S. officials, and the officials of other countries; my conversations with U.S.

officials, former Iranian officials, and officials of other countries; and my review and analysis of

relevant documents, including newspaper accounts (in both the English- and Persian-language

presses).

       18.      I am being compensated $600 for my work in this case, regardless of the outcome

of the litigation. I have no prior or current professional or personal connection with any of the

parties in this case precluding my ability to provide impartial evidence herein.

C.     The Iranian Regime

       19.      In 1979, the Islamic Republic of Iran came to power both through a popular

revolution and then through a series of referenda. This government replaced the previous regime,

which was headed by Shah Mohammad Reza Pahlavi. From the beginning of the Islamic Republic,

Iran’s political and religious institutions were overseen by a single person, a religious leader who

is called “the Supreme Leader.” The Iranian Constitution provides that the Supreme Leader has

the authority to dismiss the Iranian President, overrule the parliament and the courts, and overrule

any secular law. In addition, the Supreme Leader is imbued by the religious community with the

authority to overrule any religious law if necessary for the “expediency of the system.” Indeed,

under the Constitution, the Supreme Leader appoints an Expediency Council to advise and assist

him in overriding any law, civil or religious, which is found inexpedient.

       20.      At the time of the 1979 revolution, Ayatollah Ruhollah Khomeini was the Supreme

Leader. Currently, the Supreme Leader is Ayatollah Ali Khamenei. He is the only person, other




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than Ayatollah Khomeini, ever to hold that title. The Supreme Leader is not popularly elected. He

is chosen by an “Assembly of Experts,” the members of which, in theory, are popularly elected. In

fact, however, all candidates for the Assembly of Experts must be approved by the previous

Supreme Leader.

       21.     Iran’s political structure is bifurcated into two components: a formal governmental

structure and a revolutionary structure. The Supreme Leader oversees both aspects. Iran’s

president is subordinate to the Supreme Leader, but otherwise leads Iran’s formal governmental

structure. The Supreme Leader oversees the revolutionary structure, which includes entities, some

of which are described herein, that are parallel to the traditional government agencies within the

formal government structure. For example, the IRGC is parallel to the regular military of Iran.

There are revolutionary courts that are parallel to the regular courts of Iran. However, in each case,

the revolutionary institution is the more powerful of the pair.

       22.     Iran has been continuously listed on the U.S. State Department list of State Sponsors

of Terrorism since 1984.

D.     Hamas

       23.     The Islamic Resistance Movement (“Hamas”) is a Palestinian terrorist organization

that was established in December 1987, shortly after the outbreak of the First Intifada (December

1987 to September 1993), by Sheikh Ahmed Yassin and other Palestinian Sunni Islamist militants

committed to globalizing jihad and destroying the State of Israel. Hamas’s founders were close to,

and ideologically aligned with, the Egyptian Muslim Brotherhood organization.

       24.     From its inception, Hamas perpetrated terrorist attacks in Israel and the Palestinian

Territories, and was the largest and deadliest Palestinian terrorist group. In the Second Intifada




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(September 2000 through December 2004) in particular, Hamas perpetrated scores of high-profile

terrorist attacks, frequently via suicide bombings.

       25.     As a result of the vast number of terrorist attacks that Hamas perpetrated, and the

hundreds of civilians (including American citizens) it killed, the United States designated Hamas

a Specially Designated Terrorist in 1995, a Foreign Terrorist Organization in 1997, and a Specially

Designated Global Terrorist in 2001.

       26.     Hamas perpetrated its attacks through its operational terrorist wing known as the

Izz al-Din al-Qassam Brigades (“Qassam Brigades”).

E.     U.S. State Department’s Findings Regarding Iran’s Support for Terrorism

       27.     The Secretary of State is required under U.S. law to provide Congress with an

annual full and complete report on terrorism with regard to those countries and groups meeting

criteria set forth in Title 22 of the United States Code, Section 2656f(a) (requiring the Secretary of

State to provide Congress with a full and complete annual report on terrorism for those countries

and groups meeting the criteria of Sections (a)(1) and (2) of the Act). The list is set forth in an

annual report called “Country Reports on Terrorism” (“CRT,” previously entitled “Patterns of

Global Terrorism”). CRT is highly respected by researchers on terrorism, since the State

Department has access to reliable intelligence sources not available to the general public and puts

considerable effort into the document, making sure to double check and verify all facts and

weighing each word carefully. CRT reports frequently refer to Iran’s role as a sponsor of terrorism

and to its support for Hamas. Below are quotes from CRT for selected years (the reports for

intervening years have similar statements to those cited here):

       •        1994 – “Iran supports many other radical organizations that have engaged in
                terrorism. Tehran opposes any compromise with or recognition of Israel and, as the
                peace process moves ahead, has worked to coordinate a rejectionist front to oppose




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         the Israeli-PLO accords, particularly with the PIJ [Palestinian Islamic Jihad], the
         PFLP-GC, and HAMAS, as well as Hizballah.”

•        1999 – “[T]he actions of certain state institutions in support of terrorist groups made
         Iran the most active state sponsor of terrorism. These state institutions notably the
         Revolutionary Guard Corps and the Ministry of Intelligence and Security,
         continued to be involved in the planning and execution of terrorist acts and
         continued to support a variety of groups that use terrorism to pursue their goals.”

         “Iran continued encouraging Hizballah and the Palestinian rejectionist groups—
         including HAMAS, the Palestinian Islamic Jihad, and Ahmad Jibril’s PFLP-GC—
         to use violence, especially terrorist attacks, in Israel to undermine the peace process.
         Iran supported these groups with varying amounts of money, training, and
         weapons.”

•        2003 – “Iran remained the most active state sponsor of terrorism in 2003. Its Islamic
         Revolutionary Guard Corps and Ministry of Intelligence and Security were
         involved in the planning of and support for terrorist acts and continued to exhort a
         variety of groups that use terrorism to pursue their goals.”

         “During 2003, Iran maintained a high-profile role in encouraging anti-Israeli
         activity, both rhetorically and operationally. Supreme Leader Khamenei praised
         Palestinian resistance operations, and President Khatami reiterated Iran’s support
         for the ‘wronged people of Palestine’ and their struggles. Matching this rhetoric
         with action, Iran provided Lebanese Hizballah and Palestinian rejectionist groups—
         notably HAMAS, the Palestine Islamic Jihad, and the Popular Front for the
         Liberation of Palestine-General Command—with funding, safehaven, training, and
         weapons. Iran hosted a conference in August 2003 on the Palestinian intifadah, at
         which an Iranian official suggested that the continued success of the Palestinian
         resistance depended on suicide operations.”

•        2007 – “Iran provided Lebanese Hizballah and Palestinian terrorist groups, notably
         HAMAS, Palestinian Islamic Jihad, the al-Aqsa Martyrs Brigades, and the Popular
         Front for the Liberation of Palestine-General Command, with extensive funding,
         training, and weapons.”

         “On October 25, the United States designated the IRGC-Qods Force (IRGC-QF)
         under Executive Order 13224 for its support to terrorist organizations. The Qods
         Force is a branch of the Islamic Revolutionary Guard Corps (IRGC; aka Iranian
         Revolutionary Guard Corps), that provides material support to the Taliban,
         Lebanese Hizballah, HAMAS, Palestinian Islamic Jihad, and the Popular Front for
         the Liberation of Palestine General Command (PFLP-GC).”

         “On October 25, the United States designated Bank Saderat, its branches, and
         subsidiaries under Executive Order 13224 for their support to terrorist
         organizations. Bank Saderat, which has approximately 3200 branch offices, has
         been used by the Government of Iran to channel funds to terrorist organizations,


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         including Hizballah and ... HAMAS. Hizballah has used Bank Saderat to send
         money to other terrorist organizations, including millions of dollars to support the
         activities of HAMAS. ...In 2007, Bank Saderat has transferred several million
         dollars to HAMAS.”

•        2008 – “Iran remained the most active state sponsor of terrorism….The Qods Force,
         an elite branch of the Islamic Revolutionary Guard Corps (IRGC), is the regime’s
         primary mechanism for cultivating and supporting terrorists abroad. The Qods
         Force provided aid in the form of weapons, training, and funding to HAMAS and
         other Palestinian terrorist groups, [and] Lebanese Hizballah.”

         “Iran remained a principal supporter of groups that are implacably opposed to the
         Middle East Peace Process. Iran provided weapons, training, and funding to
         HAMAS and other Palestinian terrorist groups, including Palestine Islamic Jihad
         (PIJ) and the Popular Front for the Liberation of Palestine-General Command
         (PFLP-GC). Iran’s provision of training, weapons, and money to HAMAS since
         the 2006 Palestinian elections has bolstered the group’s ability to strike Israel.”

•        2010 – “Iran remained the most active state sponsor of terrorism….The Qods Force,
         the external operations branch of the Islamic Revolutionary Guard Corps (IRGC),
         is the regime’s primary mechanism for cultivating and supporting terrorists abroad.
         Iran provided weapons, training, and funding to Hamas and other Palestinian
         terrorist groups, including the Palestine Islamic Jihad (PIJ) and the Popular Front
         for the Liberation of Palestine-General Command (PFLP-GC).”

•        2012 – “Iran increased its terrorist-related activity…Iran provided financial,
         material, and logistical support for terrorist and militant groups in the Middle
         East…Iran used the Islamic Revolutionary Guard Corps-Qods Force (IRGC-QF)
         and militant groups to implement foreign policy goals, provide cover for
         intelligence operations, and stir up instability in the Middle East. The IRGC-QF is
         the regime’s primary mechanism for cultivating and supporting terrorists abroad.”

         “Iran provided weapons, training, and funding to Hamas and other Palestinian
         terrorist groups, including the Palestine Islamic Jihad and the Popular Front for the
         Liberation of Palestine-General Command.”

•        2014 – “Iran continued its terrorist-related activity…, including support for
         Palestinian terrorist groups in Gaza, [and] Lebanese Hizballah…Iran also attempted
         to smuggle weapons to Palestinian terrorist groups in Gaza.”

         “Iran has historically provided weapons, training, and funding to Hamas and other
         Palestinian terrorist groups, including Palestine Islamic Jihad (PIJ) and the Popular
         Front for the Liberation of Palestine-General Command (PFLP-GC). These
         Palestinian terrorist groups have been behind a number of deaths from attacks
         originating in Gaza and the West Bank. Although Hamas’s ties to Tehran have been
         strained due to the Syrian civil war, in a November 25 speech, Supreme Leader
         Khamenei highlighted Iran’s military support to ‘Palestinian brothers’ in Gaza and


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                called for the West Bank to be similarly armed. In December, Hamas Deputy
                Leader Moussa Abu Marzouk announced bilateral relations with Iran and Hamas
                were ‘back on track.’”

       •        2015 – “Iran continued its terrorist-related activity…, including support for
                Hizballah, [and] Palestinian terrorist groups in Gaza.”

                “Iran has historically provided weapons, training, and funding to Hamas and other
                Palestinian terrorist groups, including Palestine Islamic Jihad and the Popular Front
                for the Liberation of Palestine-General Command. These Palestinian terrorist
                groups have been behind a number of deaths from attacks originating in Gaza and
                the West Bank. Although Hamas’s ties to Tehran have been strained due to the
                Syrian civil war, both sides took steps in 2015 to repair relations. Iran continued to
                declare its vocal support for Palestinian terrorist groups and its hostility to Israel in
                2015. Supreme National Security Council Secretary Admiral Ali Shamkhani sought
                to frame a series of individual Palestinian attacks on Israeli security forces in the
                West Bank as a new ‘Intifada’ in a speech on November 25.”

       •        2016 – “Iran continued its terrorist-related activity…, including support for
                Hizballah, [and] Palestinian terrorist groups in Gaza.”

                “Iran has historically provided weapons, training, and funding to Hamas and other
                Palestinian terrorist groups, including Palestine Islamic Jihad and the Popular Front
                for the Liberation of Palestine-General Command. These Palestinian terrorist
                groups have been behind a number of deadly attacks originating in Gaza and the
                West Bank, including attacks against Israeli civilians and Egyptian security forces
                in the Sinai Peninsula.”

       •        2018 - “Iran remains the world’s worst state sponsor of terrorism. The regime has
                spent nearly one billion dollars per year to support terrorist groups that serve as its
                proxies and expand its malign influence across the globe. Tehran has funded
                international terrorist groups such as Hizballah, Hamas, and Palestinian Islamic
                Jihad.”

F.     Iran’s Relationship With Hamas in Context of Its Support for Terrorism

       28.     It has been well-documented for over thirty years that Iran has provided funding

and training for terrorism operations that targeted United States and Israeli citizens.

       29.     Such activities have included support for Hamas.

       30.     While Iran’s relationship with Hamas has waxed and waned over the years, Iran has

never cut off all of its support for Hamas even during periods when the relationship was cool, and

when the relationship was warm, Iran provided Hamas substantial financial and military support.


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       31.     From about 1993 until the late 1990s, Iran and Hamas became very close, as a result

of Hamas’s willingness to perpetrate terrorist activities and bus bombings. Iran urgently desired to

disrupt the Middle East peace process, which appeared to be moving forward at the time, and Iran

considered terrorist activities a way to do so. Therefore, Iran strongly and publicly encouraged

Hamas to carry out such activities. Throughout this period, Hamas operatives received military

training in Iran. During an interview in 1997 with CBS’s “60 Minutes” TV program, Hamas

operative Hassan Salameh confessed to planning the February 25, 1996 bombing of the Number

18 Egged Bus in Jerusalem and receiving training and other support from Iran.

       32.     In March 1996 at a summit held in Egypt, I am personally aware that then-Israeli

Prime Minister, Shimon Peres, identified Iran as the principal sponsor of Hamas terrorism, and

Palestinian Authority Chairman Yasser Arafat went so far as to state that Iran “ordered” bus

bombings in Israel, including the one on February 25, 1996. My knowledge is based on briefings

by Israeli officials at the highest level of government close to Mr. Peres, and by U.S. high level

officials with personal knowledge of these activities.

       33.     Moreover, especially in 1995-1997, rarely did a Friday prayer meeting go by

without the person leading prayers in Tehran, Iran praising bombings such as the aforementioned

bus bombing, with those statements then being widely carried on Iranian state-owned television,

radio, print media, and Iran’s other propaganda networks throughout the Arab world. After the

frequent bombings in the winter of 1995-1996, the Iranian news agency ran extremely

inflammatory statements calling for further bombings and more blood.

       34.     From about 1993 until the late 1990s, Iran gave Hamas millions of dollars, in

addition to the hundreds of millions of dollars that Iran spent supporting other terrorist groups. The

money, among other things, supported Hamas’s terrorist activities, e.g., by bringing Hamas into




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contact with potential terrorist recruits and by providing legitimate front activities behind which

Hamas could hide its terrorist activities. Iran typically paid generously for “results,” which Hamas

provided by committing numerous bombings during this time.

        35.      After a period when the Iran-Hamas relationship cooled, it deepened again in 2002.

In a November 2002 interview, 1 one of [Israeli Prime Minister Ariel] Sharon’s most senior

intelligence chiefs said, “[Hamas] kept its independence since being established in 1987, but

during the last year we could see how it has been changed, and Hamas became more dependent on

Iran. The leadership of Hamas sits in Damascus, and they travel every three or four weeks to Iran.”

        36.      In a July 30, 2003 report,2 the Israeli Ministry of Foreign Affairs estimated that Iran

provided Hamas with $3 million a year.

        37.      With a fall-off in Hamas terrorist activities—largely due to a fierce Israeli campaign

against the organization—the Iran-Hamas relationship cooled after 2003.

        38.      It warmed again within a few years. In December 2005, Hamas’s then-political

chief Khaled Mashal visited Tehran.

        39.      Iranian support, finances, and arms rose exponentially after Hamas’s 2006 election

victory in which it won a plurality in the Palestinian parliament. Israel’s Intelligence and Terrorism

Information Center, which is closely aligned with the Israel Defense Forces, published a January

12, 2009 report 3 noting Iran’s pledge of $250 million to Hamas’s then-Prime Minister Ismail

Haniyeh in 2006 and 2007. Although the Egyptian authorities are reported to have confiscated

some of these funds, large sums of Iranian money flowed into the Gaza Strip earmarked for Hamas.


1
         Beverley Milton-Edwards and Stephen Farrell, Hamas: The Islamic Resistance Movement (Cambridge:
Polity Press, 2010), background interview, p. 93.
2
        The Financial Sources of the Hamas Terror Organization.
3
          Iranian Support of HAMAS, pp. 20-21. (Although the cover page is dated January 12, 2008, the content makes
clear that the actual date was January 12, 2009.)


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         40.     The Iran-Hamas relationship grew even closer after the 2007 coup by which Hamas

took complete control of the Gaza Strip, with Iran providing more money and arms. On March 5,

2007, Yuval Diskin, the director of the Israel Security Agency (often referred by as Shin Bet, for

its initials in Hebrew), told a press briefing, “We know that Hamas has started to dispatch people

to Iran, tens and a promise of hundreds” for training that would last months and maybe years,

adding, “I see this as the strategic danger, more than any weapons smuggled into Gaza.”4

         41.     Ephraim Kam, Senior Research Fellow at the Institute for National Security Studies

and a former colonel in the Research Division of the Israel Defense Forces, Military Intelligence,

noted that “the military and financial link between Iran and Hamas strengthened greatly after the

organization took control of the Gaza Strip, as the partially isolated Hamas needed ways to arm

and raise finances, and Iran rose to the occasion.” 5

         42.     On March 4, 2008, U.S. Secretary of State Condoleezza Rice explained U.S.

support for the Palestinian Authority security forces by saying, “It is very clear that Hamas is being

armed and it’s very clear that they are being armed, in part, by the Iranians. So if the answer is that

Hamas gets armed by the Iranians and nobody helps to improve the security capabilities of the

legitimate Palestinian Authority security forces, that’s not a very good situation.”6

         43.     Intelligence and Terrorism Information Center’s aforementioned report 7 also

documented heavy coordination among senior Islamic Revolutionary Guard Corps Qods Force

personnel and senior Hamas leadership and strategic support supplied by the former to the latter.


4
         Steven Erlanger, “Hamas Gets Training in Iran, Israeli Official Says.” The New York Times, March 5, 2007,
available at https://www.nytimes.com/2007/03/05/world/middleeast/05cnd-mideast.html.
5
         Operation Cast Lead: Regional Implications, Strategic Assessment, Volume 11, Number 4, February 2009,
p. 70.
6
         www.state.gov/secretary/rum/2008/02/101745.htm.
7
         Iranian Support of HAMAS, p. 3.


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        44.     Distinguished British war correspondent Marie Colvin, who reported from the front

lines of battlefields all over the world for 25 years before being killed on such a battlefield in Syria

in 2012, wrote an article in the Sunday Times of London on March 9, 20088 in which she noted

that in March 2008, “[s]o far, 150 members of Qassam [Hamas’s military wing, the al-Qassam

Brigades] have passed through training in Tehran, where they study for between 45 days and six

months at a closed military base under the command of the elite Revolutionary Guard force.”

        45.     Similarly, Guy Aviad, Head of the Training Desk in the Israel Defense Forces,

History Department, and noted Hamas expert, noted that Iran served as a training ground for

Qassam Brigades fighters, “which included gathering intelligence, establishing camouflage,

constructing sophisticated explosive charges, and operating advanced anti-tank missiles.”9

        46.     Hamas fired 120 mm mortar shells at Israel on February 24 and 29, 2008. Israeli

forensic investigators concluded the shells had been manufactured in Iran. Israeli investigators

concluded that many other mortar shells and rockets fired on Israel were of Iranian design if not

manufacture.10

        47.     On May 26, 2008, the respected pan-Arab newspaper Al-Sharq al-Awsat reported

that Iran had decided to increase its financial support for Hamas to $150 million for the second

half of 2008, although the sources for this account are not clear. What is certain is that in early

2008, Hamas had agreed to a ceasefire with Israel, during which time many reports suggest that

smuggling—including arms smuggling—by tunnels from Egypt into Hamas-controlled Gaza

increased substantially.



8
        Hamas Wages Iran’s Proxy War on Israel.
9
         “Hamas’ Military Wing in the Gaza Strip: Development, Patterns of Activity, and Forecast,” Military and
Strategic Affairs, Volume 1, Number 1, April 2009, p. 7.
10
        Iranian Support of HAMAS, pp. 10-11.


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        48.     By December 2008, Hamas was sufficiently confident that it resumed terror attacks

on Israeli civilians, leading to sharp Israeli retaliation in what turned into a three-week substantial

military confrontation in late December 2008 and early January 2009 before a new ceasefire was

arranged. Soon after, on February 2, 2009, Hamas leader Khaled Mashal visited Tehran and

thanked Iran for its support during the conflict, calling it a “partner in victory.” 11

        49.     In February 2010, Cyprus seized and searched a ship on which it had found more

than 3,000 cases of powder for 120 and 130mm guns as well as over 800 cases of propellant for

125mm mortars. This led the U.N. Security Council committee responsible for monitoring the

Security Council-ordered ban on Iranian arms exports to conclude on March 10th that Iran had

violated the ban. While the committee did not address the issue as to where the arms were headed—

that question not being part of its mandate—there is strong reason to believe they were headed

toward Gaza. In a January 25, 2009 report in the Sunday Times of London entitled, “US Navy

seeks arms bound for Hamas,” 12 Uzi Mahnaimi had described how Iranian frogmen move

weapons from Iranian ships to Palestinian fishing boats underwater.

        50.     The Iran-Hamas relationship weakened in 2012 as the IRGC began to provide arms

and fighters to support the Assad regime in Syria in its battle against insurgents, who included

Sunni Islamists. But the relationship improved during the Hamas-Israel fighting in November

2012. At that time, Iranian and Hamas officials became much blunter about Iranian support for

Hamas rocket attacks on Israel. On November 20, Ziad al-Nakhla, deputy head of PIJ, told the pro-

Hezbollah Lebanese Al Manar television station, “The arms of the resistance, including those of




11
        “Hamas Leader Thanks Iran for Help in Gaza Fight,” Associated Press, February 2, 2009.
12
        http://www.thesundaytimes.co.uk/sto/news/world_news/article145695.ece.



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Hamas, are Iranian, from the bullet to the missile.13 The same week, Iranian Parliament’s Speaker

Ali Larijani told reporters, “We proudly say we support the Palestinians, militarily and

financially.”14 IRGC commander Mohammad Ali Jafari proclaimed at the same time that missile

technology “has been transferred to the resistance, and an unlimited number of these missiles are

being built.”15 On November 21, Khaled Mashal thanked Iran for “arms and funding.” 16

        51.     The Iran-Hamas relationship improved further after the Egyptian military’s July

2013 overthrow of the Morsi government which had been close to Hamas, leaving Hamas quite

dependent on Iranian aid. In January 2014, Taher al-Nounou, an aide to Gaza’s Prime Minister

Ismail Haniyeh (now Hamas’s overall leader), said “Relations between us [Iran and Hamas] are

now almost back to how they were before. We believe we shall soon be back at that point.” Asked

if Iran had resumed its financial support, Nounou said, “We don’t announce these things because

there would be efforts to stop it.”17 Bassam Naim, another senior Hamas official, added “Ties

[between Hamas and Tehran] had never been conclusively severed, but recently there have been a

number of meetings that brought new blood back into our relationship with Iran.” 18




13
         Thomas Erdbrink, “Iranian Missiles in Gaza Fight Give Tehran Government a Lift,” The New York Times,
November 21, 2012, available at http://www.nytimes.com/2012/11/22/world/middleeast/iran-missiles-in-gaza-give-
tehran-government-a-lift.html.
14
        Id.
15
        Id.
16
       From the Israel Ministry of Foreign Affairs compilation of quotes, “Iranian weapons in Gaza,” November
22, 2012, available at http://mfa.gov.il/MFA/ForeignPolicy/Iran/SupportTerror/Pages/Iranian_weapons_in_Gaza
_22-Nov-2012.aspx.
17
        See Harriet Sherwood, “Hamas and Iran Rebuild Ties Three Years After Falling Over Syria,” The Guardian,
January 9, 2014, available at http://www.theguardian.com/world/2014/jan/09/hamas-iran-rebuild-ties-falling-out-
syria.
18
        Id.


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        52.     Hamas-Iran relations were further strengthened in the course of 2014 as Hamas

stepped up its terror activities. After Hamas’s June 12 kidnap and murder of three teenagers

including American citizen Naftali Fraenkel, Hamas rocket attacks and Israeli air strikes escalated

into an Israeli invasion of Gaza on July 8, which continued until August 26, with the deaths of 71

Israelis and over 2,000 Gazans. Iran issued statements strongly supporting Hamas’s activities

during this time and in the aftermath. On September 29, Major General Ghola Ali Rashid of the

Iranian Armed Forces General Staff Headquarters said, “Today some of our commanders are

providing advisory assistance to Iraq and its army, in addition to the resistance in Lebanon,

Hezbollah, and the Palestinian resistance movement.” Supreme Leader Khamenei said on

November 25, “The Islamic Republic of Iran, with divine grace, has not become prisoner of

sectarian limitations and divisions. Just as it aids Shi’a Hizbollah in Lebanon, it aids Hamas and

Islamic Jihad [PIJ] and other Sunni groups in Palestine.” 19 Furthermore, “a freighter carrying 40

medium-range rockets was intercepted by Israeli commandos in 2014 in the Red Sea, a shipment

they say was destined for Gaza.”20

        53.     A high-level Hamas delegation visited Tehran on December 8, 2014 just ahead of

the annual December 14 celebration of the organization’s founding in Gaza. To quote the respected

on-line news service Al-Monitor, “A senior Hamas official abroad, who spoke on condition of

anonymity, told Al-Monitor, ‘Hamas is aware that Iran is under a harsh economic blockade and its

financial expenses are enormous in neighboring countries. We may not have great hopes that

financial support will be generous as it was before, but the military support for the movement may


19
         Author’s translation from the statement on Khamenei’s website. http://farsi/khamenei.ir/news-
content?id=28249.
20
        William Booth, “Iran’s post-sanctions windfall may not benefit Hamas,” The Washington Post, August 31,
2015, available at https://www.washingtonpost.com/world/will-irans-post-sanctions-windfall-benefit-hamas-maybe-
not/2015/08/30/08d0c62c-481e-11e5-9f53-d1e3ddfd0cda_story.html?utm_term=.c26c0cecb2aa.



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not be harmed much, which is sufficient for us at this stage.” 21 On December 9, 2014, Mohammad

Nasr, part of the Hamas delegation in Tehran, said, “The Islamic resistance in Gaza [i.e., Hamas]

defeated the Zionists because of the Islamic Republic’s support.” On December 14, Abu Obeida,

the spokesman for Hamas’s Qassam Brigades, expressed his thanks to Iran for supporting Hamas

with money and weapons and providing it with rockets and anti-tank missiles. 22 That was an

unusually blunt comment: Hamas’s usual policy, as expressed by Hamas representative in Tehran,

Khalid al-Qaddumi, is “Hamas does not have to reveal the mechanism and details of the support

it receives from any party.”

        54.     In August 2015, Israel’s domestic security agency, Shin Bet, revealed it had

captured a 21-year-old Hamas operative who claimed that Iran was funding tunnel-digging and

smuggling in advanced weaponry, including frequency-jamming electronics that could down

Israeli unmanned aerial vehicles. “That report has been treated with skepticism by some Hamas

watchers in Gaza and Israel, who cite the timing of the Shin Bet announcement, during the heat of

the congressional debate over the Iran deal, as well as the age and position of the alleged informant,

who dug tunnels for a living.”23

        55.     Some members of Hamas’s leadership have tried to balance support from Iran with

support from the oil-rich monarchies of the Persian Gulf, but that has become increasingly difficult

as relations between Iran and those monarchies deteriorated in recent years. In July 2015, Hamas

leader Khaled Mashal’s visit to Iran’s main rival, Saudi Arabia, was not well received in Iran.

However, that by no means meant an end to Iranian material support for Hamas. By some accounts


21
         Adnan Abu Amer, “Hamas asks Iran for money, weapons,” Al-Monitor, December 17, 2014, available at
https://www.al-monitor.com/pulse/originals/2014/12/iran-hamas-repair-ties-with-visit-to-theran.html.
22
        Id.
23
        See Booth, supra at 20 n.20.



                                                   21
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Iran “decided to take revenge on him [Meshal] in an original way. It bypassed Mashaal [Meshal]

and has handed over the suitcases, by way of couriers, directly to the leaders of the group’s military

wing in the Gaza Strip.”24 Furthermore, a senior (unnamed) Hamas official analyzed the situation

as follows, “There’s a wing in Iran that doesn’t want any relation with Hamas, and there’s a wing

in Hamas that doesn’t want these ties to be boosted,” said the senior Hamas official. “But I can

ensure that both Col. Qasem Soleimani, head of the Quds Force, and Sayyed Hassan Nasrallah,

Hezbollah’s secretary-general, are pushing toward opening a new chapter and restoring good

ties.”25

           56.   Hamas-Iran relations were warm in 2016, in no small part because Hamas had few

alternative suppliers of arms and money. In November 2016, senior Hamas leader Osama Hamdan

said, “Relations between Iran and Hamas are currently undergoing revitalization, and are moving

in the right direction,” and that Iran would “continue to support the resistance” against Israel. 26

           57.   In February 2017, Hamas selected as its new leader in Gaza Yehiyeh Sinwar. After

Sinwar’s first meeting with journalists in August that year (a four-hour meeting), CNBC reported,

“‘Today, the relationship with Iran is excellent, or very excellent,’ Sinwar said. He added that the

Islamic Republic is ‘the largest backer financially and militarily’ to Hamas’ military wing.”27

CNBC added, “Sinwar stressed that the Iranian aid is for ‘rebuilding and accumulating’ Hamas’

military powers for a larger fight against Israel that is meant to ‘liberate Palestine.’ ‘Thousands of


24
        Avi Issacharoff, “Boosted by nuke deal, Iran ups funding to Hezbollah, Hamas,” Times of Israel, September
21, 2015, available at http://timesofisrael.com/boosted-by-nuke-deal-iran-ups-funding-to-hezbollah-hamas/.
25
         Ali Hashem, “Iran caught between Tehran and Riyadh,” Al Monitor, August 23, 2015, available at
http://www.al-monitor.com/pulse/originals/2015/08/iran-hamas-ties-saudi-arabia.html.
26
        Noted Palestinian journalist Khaled Abu Toameh, “Iran, Hamas and the Dance of Death,” November 23,
2016, available at https://www.gatestoneinstitute.org/9395/iran-gaza-hamas.
27
         “New Hamas leader says it is getting aid again from Iran,” CNBC, August 28, 2018, available at
https://www.cnbc.com/2017/08/29/new-hamas-leader-says-it-is-getting-aid-again-from-iran.html.


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people work every day to make rockets, (dig) tunnels and train frogmen,’ he said. ‘The relationship

with Iran is in this context.’” Id.

        58.     Many Hamas officials visited Tehran in 2017. The high point was the October visit

by a delegation led by deputy chief of Hamas’s Political Bureau, Saleh Al-Arouri, who met with

the Iranian Parliament Speaker, Ali Larijani; the Secretary of Iran’s Supreme National Security

Council, Admiral Ali Shamkhani; and Advisor to the Leader of the Islamic Revolution in Iran, Ali

Akbar Velayati. Velayati said, “[w]e are proud of supporting the Palestinian resistance and Hamas

Movement. The Iranian leadership and our people will continue to support the resistance led by

Hamas and Islamic Jihad.”28

        59.     The Iran-Hamas relationship continued to improve in 2018. On May 20, 2018,

Sinwar gave an interview to the Iranian-funded Al Manar television network in which, according

to the Persian-language account in the official Islamic Republic News Agency (IRNA), he praised

Iran for its generous support in contrast to the lack of support from Arab countries, saying among

other things, “Iran has equipped us with missiles which surprised the world when we targeted

Beersheva” (an Israeli city). 29 Al Jazeera ran a July 26, 2018 op-ed by Adnan Abu Amer, a

professor at a Hamas-controlled university in Gaza, stating, “Since the [Hamas-Iran]

rapprochement started in mid-2017, there has been increasing talk of Iran resuming its financial

support for the movement, though at a much lower rate than pre-2012.” However, that “much

lower rate” was still massive—while “[t]here are no official figures of how much this financial

support amounts to, … Israeli Defence Minister Avigdor Lieberman said in March that most of




28
          Available at http://hamas.ps/en/post/1022/hamas-delegation-to-tehran-meets-with-iranian-officials. The
translation from Persian is mine.
29
        Available at https://tinyurl.com/y9qgwuno.



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the $260m[illion] Hamas invested in 2017 in making tunnels and weapons came from Tehran.”30

And a report by the Israel-based Ynet news site from August 2018, citing Palestinian sources, said

Iran’s payments to Hamas at the time amounted to $70 million per year (as quoted in the Times of

Israel31).

         60.      In 2019, the Hamas-Iran relationship deepened further. According to a 2019 article

in the Hamas-run newspaper Al-Resalah (written by a Gaza-based political analyst reportedly close

to Hamas), “despite a cooling off in the relations between the Islamic Republic and the

Palestinians, Iran is now the only country that provides military support to the Palestinian

resistance.”32

         61.      On July 22, 2019, a Hamas delegation headed by its deputy chief, Saleh Al-Arouri,

was photographed meeting in Tehran with Iranian Supreme Leader Ayatollah Ali Khamenei.

Israeli television reported that Khamenei pledged to increase Iran’s support to Hamas to $30

million a month in return for intelligence about Israeli missile capabilities (as quoted in the same

Times of Israel article), though it is not confirmed if this happened.

         62.      On August 29, 2019, the Treasury Department issued a press release which stated,

among other things:

         Today, the U.S. Department of the Treasury’s Office of Foreign Assets Control
         (OFAC), in partnership with the Sultanate of Oman, designated financial
         facilitators responsible for moving tens of millions of dollars between Iran’s Islamic
         Revolutionary Guard Corps-Qods Force (IRGC-QF) and HAMAS’s operational
         arm, the Izz-Al-Din Al-Qassam Brigades in Gaza. … ‘These facilitators funneled

30
         Available   at   https://www.aljazeera.com/indepth/opinion/hamas-iran-rapprochement-180725150509789.
html.
31
         Michael Bachner, “Iran said increasing Hamas funding to $30m per month, wants intel on Israel,” August 5,
2019, available at https://www.timesofisrael.com/iran-agrees-to-increase-hamas-funding-to-30-million-per-month-
report/.
32
          Tzvi Joffre, “Hamas member details long history of Iranian financial, political support,” Jerusalem Post, July
1, 2019, available at https://www.jpost.com/Middle-East/Hamas-member-details-long-history-of-Iranian-financial-
political-support-594265.


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        tens of millions of dollars from Iran’s Qods Force through Hizballah in Lebanon to
        HAMAS for terrorist attacks originating from the Gaza Strip. HAMAS’s
        continued violent campaign against innocent civilians and the state of Israel is to
        the great detriment of the people in Gaza,’ said Sigal Mandelker, Treasury’s Under
        Secretary for Terrorism and Financial Intelligence.33

        63.      Hamas head Ismail Haniyeh made quite a strong impression across the Middle East

as the only non-Iranian to speak at the January 6, 2020 Tehran funeral for the commander of the

IRGC Qods Force, Qassem Soleimani, who was killed in an American strike. Adnan Abu Amer

wrote, “Haniyeh’s trip to Tehran could reflect Hamas’ intention to forge a real alliance with Tehran

rather than seeking its military and financial support only. Such an alliance would develop into a

strategic integration with Iran.”34

        64.      In conclusion, the Iran-Hamas relationship has continued consistently from 1993 to

the present, with Iranian support more pronounced in some periods than others. There is ample

evidence that Iran has supplied substantial material support to Hamas, including in the period

immediately before, during, and immediately after the December 13, 2018 attack outside of Givat

Assaf in the West Bank in which Nathaniel Felber was grievously wounded and two other Israelis

were killed.



Date: July 13, 2020

                                                            /s/ Patrick L. Clawson
                                                            Patrick L. Clawson




33
        Press Release, U.S. Dep’t of the Treasury, “Treasury Targets Facilitators Moving Millions to HAMAS in
Gaza,” available at https://home.treasury.gov/news/press-releases/sm761.
34
         Adnan Abu Amer, “Haniyeh’s visit signals Hamas seeks stronger Iranian alliance,” January 10, 2020,
available    at    https://www.al-monitor.com/pulse/originals/2020/01/hamas-haniyeh-visit-iran-funeral-soleimani-
alliance-support.html#ixzz6R8oSA2Gq.


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